  Case 8:19-cr-00047-JLS Document 12 Filed 03/04/19 Page 1 of 1 Page ID #:39




 1  HILARY POTASHNER(Bar No. 167060)
    Federal Public Defender                                    ~;~ , ,cur!-+~~"' ~Y
 2 (E-Mail: hilary~otashner@fd.org)                            ~ ~~~R~,ss ~'s='— c%c~RT
 3 ~`i ~'~ti                 (Bar No. I ~Wr(~)                  ~            _ Q 2019
 4 Deputy   Federal Public Defender
   (Email: ~~ `/I                   ~~,~
 5 411 West Fourth Street, Suite 7110                               '_1--.--~`~
 6 Santa Ana, California 92701-4598
    Telephone: (714) 338-4500
 7 Facsimile: (714) 338-4520
 8
    Attorneys for Defendant
 9
10                             UNITED STATES DISTRICT COURT
11                          CENTRAL DISTRICT OF CALIFORNIA
12                                   SOUTHERN DIVISION
13   UNITED STATES OF AMERICA,                      Case No. SA CR 1~ ~ ~ 31 (~
14                Plaintiff,
15          v.                                       Assertion of Fifth and Sixth
                                                     Amendment Rights
16
1~                Defendant.
18         I, the above-named defendant, hereby assert my Fifth and Sixth Amendment
19   rights to remain silent and to have counsel present at any and all of my interactions with
20   the government or others acting on the government's behalf. I do not wish to, and will
21 ; not, waive any of my constitutional rights except in the presence of counsel. I do not
22 want the government or others acting on the government's behalf to question me, or to
23   contact mga~king my waiver of any rights, unless my counsel is present.
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25               s                                          s i~ amei~igna
26
     Date/Time       ~~ F-~, I ~\~                      a.m./p.m.
27
28   Interpreter:
     If defendant is not English speaker, include the following:
